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US. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
LED

IN THE UNITED STATES DISTRICT COURT
: NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

 

Fort Worth Division FEB 17 2019
EDWARD THOMAS KENNEDY, CLERK, U.S. DISTRICT COURT
Bk US.
D tgs
Plaintiff, aoe
4-19¢CV001240
Vv. . CaseNo.
JURY TRIAL DEMANDED
VERIFIED
THE UNITED STATES,

AT&T, INC., RANDALL L.
STEPHENSON, DAVID R.
MCATEE, and JOHN J.
STEPHENS,

Defendants.

PLAINTIFF'S ORIGINAL COMPLAINT

TAKE JUDICIAL COGNIZANCE

1. Executive Order 13825 concerning 2018 Amendments to the Manual for
Courts-Martial, United States (March |, 2018) effective January 1, 2019, and Exhibit 1 LAW
OF THE CASE.

JURISDICTION AND VENUE
2. The Court has jurisdiction over this action at law pursuant to 28 U.S.C. §1331

and it is a court of record. The court also has jurisdiction pursuant to 18 U.S.C. 8§

1961-1968. The venue is proper in this district pursuant to 28 U.S.C. § 1391(d).

STATEMENT OF THE CASE
 

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3. Each Defendant exceeded their jurisdiction by either directly, through an
agent, or in concert with another did cause Kennedy to be unlawfully injured against his
will, without jurisdiction or good cause.

4. This is a matter to compel compliance under the Constitution of the United states,
common law Torts and The Racketeer Influenced and Corrupt Organizations Act commonly
referred to as RICO Act or simply RICO, a U.S. federal law that provides a civil cause of action
for injuries for acts performed as part of an ongoing criminal organization and this court of
record has jurisdiction over these and other matters herein.

5. The executive officers of Defendant AT&T, Inc. are in the state of Texas in this
court's jurisdiction. Defendant Randall L. Stephenson is Chief Executive Officer of AT&T, Inc.,
David R. McAtee is General Counsel and John J. Stephens is Chief Financial Officer.

6. Defendant United States is a corporation.

FIRST CAUSE OF ACTION — TRESPASS

7. Edward Thomas Kennedy, (hereinafter "Kennedy" or "Plaintiff") is one of
the people of Pennsylvania, was trained in law by his Sacred Medical Order and the
Vatican and is a Papal Knight since 2008, Rule 902 evidence link here:' and ordained
Eastern Rite Roman Catholic Priest since 2013, in this court of record complains of each
of the following: The United States, AT&T, Inc., David R. McAtee, John J. Stephens and
Randall L. Stephenson, hereinafter "Defendant," and "Defendants;" who are each

summoned to answer and declare under penalty of perjury the said in a plea of trespass,

 

" Kathmandu Nepal March 19, 2009.
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RICO, trespass on the case - vicarious liability, failure to provide a republican form of
government, trover, intentional infliction of emotional distress, breach of contract,
fraudulent material Omission, and violation of Whistleblower Retaliation Provisions, to
wit:

8. Each Defendant exceeded their jurisdiction by either directly, through an
agent, or in concert with another did cause Kennedy to be unlawfully injured against his
will, without jurisdiction or good cause. Said Defendants, without good cause, harmed
Kennedy.

9. Defendant Randall L. Stephenson is Chief Executive Officer of AT&T, Inc.,
from 2007 to present, David R. McAtee is General Counsel, AT&T Inc., and John J.
Stephens Chief Financial Officer, AT&T, Inc., hereinafter also "officers."*

10. Kennedy first worked at the Long Lines Division of AT&T, Inc. in San .
Francisco in an approximately 1982-1983 time frame and prior to the AT&T Bell System
divestiture on January |, 1984.

11. Kennedy was damaged and injured by Pacific Telesis (now owned by
AT&T) CEO Samuel Ginn’ by constructive discharge and employment blacklisting.*

12. Ginn retaliated against Kennedy and stole cash flow from the regulated
ratepayers and people of California.

13. Kennedy objected to frauds directly to Ginn and Ginn retaliated by

damaging and injuring Kennedy.

 

* https://investors.att.com/corporate-governance/leadership

3 https://www.twst.com/bio/sam-ginn/

4 BABY BELL BOSS: Sam Ginn; Taking Telesis off the Beaten Track, link here:
https://www.nytimes.com/1988/1 1/20/business/baby-bell-boss-sam-ginn-taking-telesis-off-the-beaten-track. htm]
 

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14. Ginn's Lawyers were General Counsel Richard Odgers, Pillsbury, Winthrop
Shaw Pittman LLP, and Beth Roemer.”

15. | Kennedy's complaints to the Defendant United States were ignored.

16. | From the moment he was harmed until the present, Kennedy, under color of
law, was kept in constructive financial imprisonment by the defendants.

17. Each defendant today acted in such a way or failed to act in such a way,
that Kennedy is injured and damaged.

18. Each defendant acted to deprive Kennedy of his liberty, especially his
financial liberty, and/or each defendant failed to act to prevent the loss by Kennedy of his
liberty.

19. Further, each defendant is a willing participant in concert with each of the
remaining defendants.

20. At all times mentioned in this action each defendant is the agent of the
other, and in doing the acts alleged in this action, each is acting within the course and
scope of the said agency.

21. The following paragraphs describe what the defendants under color of law,
either acted or failed to act as obligated.

22. Each defendant exceeded his jurisdiction under the color of law. Each
defendant acted in concert with the remaining defendants to affect the unlawful loss of
liberty of Kennedy, his good reputation, and his ability to earn a living.

23. Defendants have breached that duty, and their fiduciary duty to one of the

 

* Link for Attorney Roemer here: http://access-coaching.com/
 

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people, Kennedy. The damages for the injury caused by defendants’ actions are $5,000 for
each day of unlawful behaviors for each defendant, or $1,000,000.00 from each defendant,
whichever is greater.

24. The damages for the injury caused by the defendant's’ absence of required
action is $5,000 for each failure to act or $5,000,000.00 from each defendant, whichever is
greater.

SECOND CAUSE OF ACTION - RICO

25. Paragraphs | through 24 is included by reference as though fully stated
herein.

26. Kennedy sues Defendants in a multi-count cause of action under common
law Torts and also The Racketeer Influenced and Corrupt Organizations Act commonly
referred to as RICO Act or simply RICO, a US federal law that provides for extended
criminal penalties and a civil cause of action for injuries for acts performed as part of an
ongoing criminal organization® including RICO violations by AT&T that includes the
following:

27. The Defendants have systematically and continuously, over the last ten (10) years
and more, conducted a corrupt enterprise in violation of the Racketeer Influenced and Corrupt
Organization (“RICO”) Act, all of which acts are continuing in nature. As grounds, therefore

beginning in 2008 to the present, Defendant Stephenson misstated, misinformed and filed fake

 

® 18 U.S. Code § 1961 - Elements of Racketeering et seq.

Racketeering encompass a wide range of criminal activities that are directed towards generating a profit.

The actual income-generating activities may constitute a criminal offense. AT&T, Inc., an organized criminal
enterprise, and a transnational criminal organization, pursued financial fraud evidenced herein from the official
public record, Said activity may also expose AT&T to prosecution under the federal mail and wire fraud statutes, and
now in this state of emergency, military law. Efforts by AT&T and Stephenson to conceal the criminal nature of these
activities may also constitute criminal offenses.
 

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financial records on government websites, supported by self-authenticating digital evidence,

and the fact that AT&T, Inc. and AT&T CEO Stephenson uses alternative metrics to avoid
generally accepted accounting principles (GAAP).

28. It is a financial fraud crime to lie or misconstrue information to the government in
form 10-k filings at the sec.gov website under RICO and the agency law of the Securities and
Exchange Commission, and Stephenson lied, misstated and misconstrued 10-k filings.

29. The damages claimed are all a result of the injuries.

THIRD CAUSE OF ACTION - TRESPASS ON THE CASE -VICARIOUS
LIABILITY

30. Paragraphs 1 through 29 is included by reference as though fully stated
herein.

31. | Power is never without responsibility. And when authority derives in part
from Government's thumb on the scales, the exercise of that power by private persons
becomes closely akin, in some respects, to its exercise by Government itself.

32. | The purpose of imposing vicarious liability is to ensure the costs of injuries
resulting from defective actions are placed on the source of the actions and others who
make the actions possible rather than on injured persons who are powerless to protect
themselves.

33. For a defendant to be vicariously liable it must play an integral and vital
part in the overall production and promotion activity so that the actor is in a position to

affect others or, at the very least, it must provide a link in the chain of exposing the
 

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ultimate victim to the actor. The vicariously liable defendant must be in the business of
controlling, leasing, bailing or licensing the actors.

34. Each defendant is an agent of the other, and each has his place in the chain
of exposing plaintiff Kennedy to the actors. Each defendant is vicariously liable for each
instance of injury to the plaintiff.

35. The damages claimed are all a result of the injuries.

FOURTH CAUSE OF ACTION ~ FAILURE TO PROVIDE A REPUBLICAN
FORM OF GOVERNMENT

36. Paragraphs 1 through 35 is included by reference as though fully stated
herein.

37. Kennedy wishes Defendants to not breach their fiduciary duty to Kennedy.

38. Kennedy wishes Defendants not to lie, mislead, misconstrue, misrepresent
and/or put false information into either this court of record or the official public record.

39. Nationwide, the Defendant United States' Federal Communications
Commission ("FCC") and in California, the California Public Utilities Commission
deregulated regulated inside wire assets of AT&T, Inc., using alleged accounting
safeguards or firewalls, but the United States FCC neglected to enforce their own rules for
40 years allowing Ginn and Stephenson to steal both telecommunications assets and cash
flow from the people for personal financial gain.

40. | Kennedy complained directly about this to AT&T and CEO Ginn at and

was ignored and then injured and damaged in loss of rights.
 

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41. Ginn retaliated and injured and damaged Kennedy, breached his contract
promise of a career, and damaged his good name, obstructed his ability to earn a living in
violation of whistleblower retaliation provisions.

42. The Constitution guarantees to every state a Republican form of
government (Art. 4, Sec. 4). No state may join the United States unless it is a Republic.
Our Republic is dedicated to "liberty and justice for all." Minority individual rights are the
priority. People have natural rights instead of civil rights.

43. The people are protected by the Bill of Rights from the majority. One vote
in a jury can stop all of the majority from depriving any one of the people of his rights;
this would not be so if the United States were a democracy.

44. The damages claimed are all a result of the injuries.

FIFTH CAUSE OF ACTION - ACTION OF TROVER

45. Paragraphs | through 44 is included by reference as though fully stated
herein.

46. Ginn and AT&T, Inc., wrongly took, that is stole, Kennedy's trade secrets,
and demoted him from a professional MBA job in Strategy, Marketing and Planning to
Operations in the coin public telephone division, a business that is now effectively dead.

47. Pacific Telesis / Pacific Bell Corporation, San Francisco, CA, and San
Ramon, CA, now owned by AT&T, Inc., and its officers, promised Kennedy a career.

48. Pacific Bell, now AT&T, Inc. President Ted Sanger also promised Kennedy
job security after legal and ethical violations by corporation officers of Pacific Bell, now

AT&T, Inc.
 

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49. AT&T, Inc. Ginn breached said contract, stole Kennedy's trade secrets and
forced him with not consent into satanic, mysticism, mind control torture or so-called
"Krone Training,” and/or "Kroning" and/or "leadership Development."? See TRYING TO
BEND MANAGERS' MINDS Guess who could conduct your next management training
session. Wemer Erhard of est fame, Church of Scientology, or some other "human
potential" guru.®

50. Such questionable intent by Ginn and AT&T directly causes Kennedy's
emotional distress.

51. The AT&T, Inc. and the former Time Warner Corporation steal the use the
Kennedy family name without permission or authority. Plaintiff

52.  Plaimtiff Kennedy is part of the Kennedy family bloodline with common
law copyright of the name Kennedy for thousands of years.

53. The damages claimed are all a result of the injuries.

SIXTH CAUSE OF ACTION - INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS

54. Paragraphs 1 through 53 is included by reference as though fully stated
herein.

55. Elements of intentional infliction of emotional distress as a tort is as
follows: (1) the defendant must act intentionally or recklessly; (2) the defendant's conduct
must be extreme and outrageous, and (3) the conduct must be the cause (4) of severe

emotional distress.

 

” https://www.upi.com/Archives/1987/03/24/Phone-company-dabbles-in-mysticism/4737543560400/
* https://money.cnn.com/magazines/fortune/fortune_archive/1987/11/23/69878/index.htm
 

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56. Kennedy says all four elements are met.

57. The damages claimed are all a result of the injuries.

SEVENTH CAUSE OF ACTION - VIOLATION OF WHISTLEBLOWER
RETALIATION PROVISIONS

58. Paragraphs 1 through 57 is included by reference as though fully stated
herein.

59. Individual corporate directors may be held personally liable for retaliating
against a whistleblower under both the Sarbanes-Oxley Act of 2002 (SOX) and the
Dodd-Frank Wall Street Reform and Consumer Protection Act of 2010 (Dodd-Frank).

60. Both SOX and Dodd-Frank allow corporate directors to be held personally
liable for deciding to retaliate against a whistleblower.

| 61. Dodd-Frank does not require that a whistleblower report violations directly
to the Securities and Exchange Commission of Defendant United States.’

62. Kennedy made an internal complaint to Ginn and this complaint is
sufficient to constitute protected activity under Dodd-Frank.

63. AT&T, Inc. and officer Defendants and their agents injured Kennedy.

64. The damages claimed are all a result of the injuries.

LAW OF THE CASE

 

° Tn Wadler v. Bio-Rad Labs, Inc., the United States District Court, Northern District of California, held that
corporate directors may be held personally liable for retaliating against a whistleblower under both the

Sarbanes-Oxley Act of 2002 (SOX) and the Dodd-Frank Wall Street Reform and Consumer Protection Act of 2010

(Dodd-Frank).

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65. Exhibit “1” is incorporated by reference as though fully stated herein. The
date of the claim is the date of the hearing. Statutes and codes shall be the rules of
decision as long as they are not in conflict with the common law."°
Notice
60. CONFIRMATIO CARTARUM, (conforming charter)
October 10, 1297, By Edward, King of England, reaffirms that the Magna Carta may be pleaded

as the Common Law before a court. This links the Magna Carta to the Common Law. The U.S.
Constitution guarantees one's access to the Common Law, i.e. the Magna Carta."

67. The Constitution of the United States of America: Analysis and Interpretation
(popularly known as the Constitution Annotated) contains legal analysis and interpretation of
the United States Constitution, based on Supreme Court case law.

68. Modern Attorneys representing Defendants shall present paperwork sworn
or declared under penalty of perjury in this court of record.
REQUEST FOR RELIEF
69. For that cause of action, therefore, Plaintiff brings his suit.
70. | WHEREFORE, Plaintiff prays judgment against Defendants, and each of
them, as follows:

On all causes of action:
71. That the court Order AT&T, Inc., to compensate Kennedy for general damages in

the sum of $5,000 for each day of unlawful behaviors for each defendant, or $1,000,000 from

 

'° See the use of dictionaries by the Supreme Court of the United States, by Kevin Werbach, titled Looking It Up: The Supreme
Court's Use of Dictionaries in Statutory and Constitutional Interpretation (1994).

" See "Sources of Our Liberties" Edited by Richard L. Perry, American Bar Foundation; distributed by Associated
College Presses, 32 Washington Place, New York 3, New York.

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each defendant, whichever is greater;

72. That the court Order AT&T, Inc., to compensate Kennedy for damages for the
injury caused by the defendant's’ absence of required actions of $5,000 for each failure to act; or
$1,000,000 from each defendant, whichever is greater;

73. That the court grant such, other and further relief as the court deems proper;

74, That the court Order AT&T, Inc., to compensate Kennedy with paychecks
in lawful money from 1991 to present and compensate Kennedy with all retirement
benefits, including but not limited to salary, pensions, health insurance and telephone
benefits, or $2,000,000;

75. For interest as allowed by law;

76. For costs of suit incurred;

77. That the court grant his attorneys fees;

78. That the court Order AT&T, Inc. to compensate Kennedy $250,000 for
injury and damages under Sixth Cause of Action — Intentional infliction of emotional
distress.

79. That the court Order AT&T, Inc. to compensate Kennedy $250,000 under
Eighth Cause of Action — a violation of Whistleblower Retaliation Provisions for injury
and damages.

80. That the court Order the United States to compensate Kennedy $150,000
under Fourth Cause of Action — Failure to Provide a Republican Form of Government.

81. 1, Edward Thomas Kennedy, declare under penalty of perjury that the

foregoing facts are true and correct to the best of my knowledge.

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Date: January 7, 2019.

Attached: Exhibit 1, Law of the Case (15 pages)

 

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Edward Thomas Kennedy, Plagh
401 Tillage Road

Breinigsville, Pennsylvania
Telephone: 415-275-1244.
Email: pillar.of.peace.2012 @ gmail.com.

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Law of the Case is decreed as follows as though fully stated in the complaint.

1. Statutes and codes shall be the rules of decision as long as they are not in conflict
with the common law. (See the use of dictionaries in the Supreme Court of the United States, by
Kevin Werbach Looking It Up: The Supreme Court's Use of Dictionaries in Statutory and
Constitutional Interpretation (1994). When the word law is used in the US Constitution, they
mean the common law.

2. In a court of record, a judge has no discretion. Discretion is reserved to the
independent tribunal. When the word "law" is used without qualification, it means common law.
An "attorney at law" means one who practices common law. (notwithstanding the fact that
modern attorneys ignore the subject). An “attorney in equity" is one who practices before an
equity court.

A court of record is a "superior court."

A court not of record is an "inferior court."

“Inferior courts” are those whose jurisdiction is limited and special and whose proceedings are
not according to the course of the common law.” Ex Parte Kearny, 55 Cal. 212; Smith v.
Andrews, 6 Cal. 652

Criminal courts proceed according to statutory law. Jurisdiction and procedure is defined by
statute. Likewise, civil courts and admiralty courts proceed according to statutory law. Any court
proceeding according to statutory law is not a court of record (which only proceeds according to
common law); it is an inferior court.

“The only inherent difference ordinarily recognized between superior and inferior courts is that
there is a presumption in favor of the validity of the judgments of the former, none in favor of
those of the latter, and that a superior court may be shown not to have had power to render a
particular judgment by reference to its record. Ex parte Kearny, 55 Cal. 212. Note, however, that
in California ‘superior court’ is the name of a particular court. But when a court acts by virtue of
a special statute conferring jurisdiction in a certain class of cases, it is a court of inferior or
limited jurisdiction for the time being, no matter what its ordinary status may be. Heydenfeldt v.
Superior Court, 117 Cal. 348, 49 Pac. 210; Cohen v. Barrett, 5 Cal. 195” 7 Cal. Jur. 579

The decisions of a superior court may only be challenged in a court of appeal.

The decisions of an inferior court are subject to collateral attack. In other words, in a superior
court one may sue an inferior court directly, rather than resort to appeal to an appellate court.
Decision of a court of record may not be appealed.

It is binding on ALL other courts.

However, no statutory or constitutional court (whether it be an appellate or supreme court) can
second guess the judgment of a court of record. ‘The judgment of a court of record whose

jurisdiction is final, is as conclusive on all the world as the judgment of this court would be. It is
as conclusive on this court as it is on other courts. It puts an end to inquiry concerning the fact,
by deciding it."

Ex parte Watkins, 28 U.S. (3 Pet.) 193, 202-203 (1830). [cited by SCHNECKLOTH v.
BUSTAMONTE, 412 U.S. 218, 255 (1973)]

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3. Absolute Judicial immunity is a myth. A Judge does not have absolute immunity.

Judicial immunity does not apply when the following conditions exist:
a. when he is performing a non-judicial act, or
b. when he acts in the complete absence of all jurisdiction.

4. Statutes are expressions of will from the legislature. To maintain confusion, Bar
members append the word "law" to it. Naturally, one is supposed to then believe that statutory
law is the same as and equal to common law (it isn't!). There is no legislative foundation for any
Bar member to "practice" law.

5. Codes are nothing more than a collection of statutes and other rules arranged by
subject instead of being arranged by date. Law beats statutes; statutes beat codes.
6. The California 1879 Constitution defines all California courts to be courts of

record. California Government code says in two statutes: The people of this state do not yield
their sovereignty to the agencies which serve them. The people, in delegating authority, do not
give their public servants the right to decide what is good for the people to know and what is not
good for them to know. The people insist on remaining informed so that they may retain control
over the instruments they have created.!

7. Commonwealth of Pennsylvania maintains confusion and deception with multiple
versions of its Constitution. Commonwealth of Pennsylvania has had five versions of
constitutions 1776, 1790, 1838, 1874, and 1968.”

8. "Whereas it is essential if a man is not to be compelled to have recourse, as a last
resort, to rebellion against tyranny and oppression, that human rights should be protected by the
rule of law," (Preamble - Universal Declaration of Human Rights)

9. Nisi Prius is defined as: "a court where civil actions are tried by a single judge
sitting with a jury, as distinguished from an appellate court." This means the nisi prius court is a
Trial Court which of course is where the facts of a case are discovered. A nisi prius court is a
"court of no record,” but a record is kept in a trial court. The mere keeping of a record does not
qualify any court to be a court of record.

10. Black's Law Dictionary, Fifth Edition, contributes to the confusion by listing only
two of the four requirements for a court to qualify as a court of record. For the full explanation,
see https://www.1215.org/lawnotes/lawnotes/courtrec.htm.

11. In California, all courts are named as courts of record. However, if in an
individual case they are not operated as courts of record, then they don't qualify as such. It takes
more than a name to make a court of record. Even though a court may be keeping a record, it is a
court of no record if it does not conform to the remaining three requirements for a lawful court of
record.

12. A court of record is a court which must meet the following criteria:

1. generally has a seal
2. power to fine or imprison for contempt
3. keeps a record of the proceedings

 

’ California Government Code - 11120 and 54950.
? See John J. Kennedy, Pennsylvania Government and Politics, Ist Edition, Cognella publisher, 2018. Chapter 3,
pages 79 to 90.

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4. proceeding according to the common law (not statutes or codes)
5. the tribunal is independent of the magistrate (judge)
Notice that a judge is a magistrate and is not the tribunal, and the tribunal is either the
sovereign himself or a fully empowered jury (not a jury paid by the government).

13. Black's Law Dictionary's omissions are subtle but one can recombine the
information and get to the real meaning of terms such as "nisi prius".
14. —s "Nisi prius" is a Latin term. Individually, the words mean this:

"Prius" means "first." For example, "Prius vitiis laboravimus, nunc legibus" means "We labored
first with vices, now with laws." Quoted from Black's Law Dictionary, Fifth Edition. "Nisi”
means "unless." Quoting from B.L.D., Sth Ed.: "The word is often affixed as a kind of elliptical
expression, to the words '‘rule,"order,' 'decree,' ‘judgment,’ or 'confirmation,' to indicate that the
adjudication spoken of is one which is to stand as valid and operative unless the party affected
by it shall appear and show cause against it, or take some other appropriate step to avoid it or
procure its revocation."

15. "Nisi prius court” is a court which will proceed unless a party objects. The
agreement to proceed is obtained from the parties first.

16. It is a matter of right that one may demand to be tried in a court of record as
defined herein. By sheer definition, that means that the court must proceed according to the
common law (not the statutory law). The only way that a court can suspend that right is by the
prior agreement of the parties.

17. For tactical reasons, the Commonwealth of Pennsylvania and/or the state and/or
State prefers to proceed according to statutory law rather than common law. The only way it can
do that is to obtain the prior agreement from the parties. That is the primary (but hidden)
purpose of the arraignment procedure.

18. During arraignment choices for pleading are only guilty, not guilty, nolo
contendere, but all three choices lead to the same jurisdiction, namely a statutory jurisdiction, not
a common law jurisdiction. That is to say, the question to be decided is whether or not the statute
was violated, not whether the common law was violated.

19. The dictionary does not lie in its definition of a nisi prius court but it does omit
some important information. Namely, that it is a court that has been set up by prior agreement
assumed because when the three statutory options [guilty, not guilty, nolo contendere] were
presented to the defendant he chose one. He thus failed to enforce his right to be prosecuted in a
court of record.

20. Once the agreement (as evidenced in the arraignment proceeding) has been
secured, the court proceeds under statutory authority. Now the court ceases to be a court of
record and becomes a court of no record by prior lack of objection, i.e. by prior agreement
implied by failure to object.

21. Naturally, after securing the agreement, a nisi prius court can move on to examine
the facts with a judge and jury, etc. etc.
22. The criminal court is an inferior court because it is operating according to special

rules (criminal code) and not according to the common law. Even if its name is "Superior Court
of ....." it is still an inferior court so long as it is operating according to some code or statutes
rather than the common law. On the other hand, a court of record, so long as it meets the criteria,
is a truly superior court. The decisions and proceedings of an inferior court are not presumed to

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be valid. The inferior court can be sued in a superior court (that's called a "collateral attack"). In
other words, the superior court (court of record) outranks the inferior court, not of record."

23. | Government Manipulation of Language. The first "trick" of the Government is the
re-definition of certain critical words in each Statute (Act) The Government assumes the ordinary
meaning of the word so as to trick the public into reading and interpreting the Statute in their
favor. Here is a summary of some of the Trick Words. Two keywords that are re-defined in
almost every Statute are the words "person" and "individual". There is at least two "person" in
law: A natural-person is a legal entity for the human being.

An artificial-person is a legal entity that is not a human being. (Here are the exact
definitions from Barron's Canadian Law Dictionary, fourth edition (ISBN 0-7641-0616-3):
natural person. A natural person is a human being that has the capacity for rights and duties.
artificial person. A legal entity, not a human being, recognized as a person in law to whom
certain legal rights and duties may attach - e.g. a body corporate.)

24. — The natural-person has the "capacity" (i.e. ability) for rights and duties, but not
necessarily the obligation. The artificial-person has rights and duties that may be attached (i.e.
assigned) bylaws.

25. The second "trick" of the Government is to use the Interpretation Act to define
words that apply to all Statutes unless re-defined within a particular Statute. Without this
knowledge, one could assume the ordinary meaning for the words one is reading, not realizing
that they may have been defined by the Interpretation Act. Unless these words have been
re-defined in another Statute, the underlying definitions for the two most important words still
apply, either from the Interpretation Act, or the Canadian Law Dictionary.

Basically, they are defined as follows: ©

a. from the Canadian Law Dictionary one can find that:
individual means a natural person,

b. from the Income Tax Act find the re-definition:
individual means an artificial person.

c. from the Canadian Law Dictionary find that:
person means an individual (natural person) or an incorporated group (artificial person),

d. from the Interpretation Act find the re-definition:
person means a corporation (an artificial- person),

e. from the Income Tax Act find the re-definition again:
person means an artificial person (amongst other things).

26. In the Canadian Human Rights Act, one can see how individual and person are
used and how they are applied to natural and artificial persons.

27. The third "trick" of the Government is to use the word "includes" in definitions
instead of using the word "means". They do this in some critical definitions that they want to be
misinterpreted. If they used "means" instead of "includes" then their deception would be
exposed, but by using "includes" they rely upon the reader to assume that "includes" expands the
definition, whereas, in reality, it restricts the definition in the same manner that "means" restricts
the definition.

28. Here is a means definition of the word "person" from the Bank Act:
person means a natural person, an entity or a personal representative;

29. Here is an includes definition of the word "person" from the Interpretation Act:
person, or any word or expression descriptive of a person, includes a corporation

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To expose their deception, substitute the word means or any word or expression descriptive of a
person, means a corporation (viz. artificial-person)

30. Both "means" and "includes" are restrictive in scope because they only encompass
part of the whole. Typically they are used in the following form:
person means A or B or C (and nothing else).
person includes A and B and C (and nothing else).

31. From the above example, one sees the logical difference. The list that follows
means is constructed using "or", whereas the list that follows includes is constructed using "and".

32. There is a Legal Maxim that supports the restriction of "includes" which is as
follows: Inclusio unius est exclusio alterius. The inclusion of one is the exclusion of another.

The definition of the word include is key to understanding the potential loss of the natural person.
This is the major trick used by the Government in an attempt to take away natural-person rights.
Unless this is known one voluntarily forfeits rights.

33. The fourth "trick" of the Government is to modify how the word "includes" is
used in order to make an expansion in the definition when such expansion is required. This
"trick" helps add confusion to the use of "includes" convincing most readers that "includes"
should always be expansive rather than limiting. Here are some legitimate ways in which

"includes" is modified to become expansive rather than restrictive:
also includes, and includes, includes, without limitation, including, including but not limited to

34. The expansive definitions usually take the following form:
person means A or B or C and includes D. (A,B, C and D). However, there is also a possibility
that "and includes" is restrictive in some constructions. There are some people investigating this
possibility right now. Their logic is demonstrated by the following example of a definition that
states: province means a province of Canada and includes Ontario and Quebec.

So, if one presumes that "and includes" does provide expansion then one must ask why Ontario
and Quebec had to be specifically mentioned when they are already part of a so-called province.

35. The above construction clearly defines the scope of what is meant by province,
that is a province of Canada (it does not say which one), and includes only Ontario and Quebec
(compiled from a list of two from the original scope of all provinces). In this construction, means
provides the scope of the definition and includes provides the list of what is actually included in
the definition.

36. The foregoing analysis is one interpretation but is not the only interpretation. The
use of "includes" in statutory definitions can be argued both ways and is the backbone of
understanding interpretations.

37. With the presumption that "and includes" is restrictive, then we must take a very
close look at the following definition, taken from the Interpretation Act:
province means a province of Canada and includes the Yukon Territory, the Northwest Territories
and Nunavut.

38. With this presumption what is stated is: unless another statute re-defines province,
the default definition of province only includes the Yukon Territory, the Northwest Territories
and Nunavut.

39. So in order to not become absurd, we must allow for "and includes" to be
expansive, however, more work needs to be done on this subject before placing the last nail in the
coffin, so to speak.

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40. _ Barron's Canadian Law Dictionary does not provide definitions for "include" or
"means" therefore we have to look in the next source for the definitions.

Al. From Black's Law Dictionary, fourth edition, here is the definition for the word
"mmclude":
include. To confine within, hold as in an enclosure, take in, attain, shut up, contain, inclose,
comprise, comprehend, embrace, involve. Including may, according to context, express an
enlargement and have the meaning of and or in addition to, or merely specify a particular thing
already included within general words heretofore used.
inclose. To surround; to encompass; to bound; fence, or hemin, on all sides.
It is stated in the above definition that the verb include is clearly restrictive and only has limited
scope. On the other hand, the participle, including (but not limited to) enlarges the scope.

 

 

42. Therefore the conclusion is that when used in a definition, include does not
expand the existing definition of the word it is attempting to define.
43. It is easy to be confused because one naturally assumes the existing definition of

the word, then assume include means to add this new interpretation to the existing assumed
definition of the word. Our assumptions fail us in this case.

44. For the Doubting Thomas: If one looks into any statute, one will be able to find a
definition that uses the word includes and attempts to broaden the scope of that word to include
the ordinary meaning, find that the statute will break down because it will not be able to support
the inclusion of the ordinary meaning of the word.

45. The breakdown usually occurs when slavery is invoked.

46. Courts may be classified and divided according to several methods, the following
being the more usual: COURTS OF RECORD and COURTS NOT OF RECORD.

47. The former being those whose acts and judicial proceedings are enrolled, or
recorded, for a perpetual memory and testimony, and which have power to fine or imprison for
contempt. The error lies to their judgments, and they generally possess a seal.

48. Courts not of record are those of inferior dignity, which have no power to fine
or imprison, and in which the proceedings are not enrolled or recorded. See 3 BI. Comm. 24; 3
Steph. Comm. 383; The Thomas Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225;
Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229: Heininger v. Davis, 96 Ohio St. 205, 117 N.E.
229, 231.

49. A "court of record" is a judicial tribunal having attributes and exercising functions
independently of the person of the magistrate designated generally to hold it, and proceeding
according to the course of common law, its acts and proceedings being enrolled for a perpetual
memonial. See Jones v. Jones, 188 Mo. App. 220, 175 S.W. 227, 229; Ex parte Gladhill, 8 Metc.
Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y.

50. CONFIRMATIO CARTARUM, (conforming charter)
October 10, 1297, By Edward, King of England, reaffirms that the Magna Carta may be
pleaded as the Common Law before a court.

This links the Magna Carta to the Common Law.

The U.S. Constitution guarantees one's access to the Common Law, i.e. the Magna Carta.

( See "Sources of Our Liberties" Edited by Richard L. Perry, American Bar Foundation;
distributed by Associated College Presses, 32 Washington Place, New York 3, New York.).

51. The Constitution guarantees to every state a Republican form of government
(Art. 4, Sec. 4).

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52. No state may join the United States unless it is a Republic. Our Republic is one
dedicated to "liberty and justice for all." Minority individual rights are the priority. The people
have natural rights instead of civil rights. The people are protected by the Bill of Rights from the
majority. One vote in a jury can stop all of the majority from depriving any one of the people of
his rights; this would not be so if the United States were a democracy.

53. The definition of sovereignty retains the meaning it had at the time the US

Constitution was formed. Who is the Tribunal? Answer: The sovereign, the ultimate Judge.

54. ..at the Revolution, the sovereignty devolved on the people; and they are truly the
sovereigns of the country, but they are sovereigns without subjects...with none to govern but
themselves..... [CHISHOLM v. GEORGIA (US) 2 Dall 419, 454, 1 L Ed 440, 455 @DALL
(1793) pp 471-472.]

55. The very meaning of ‘sovereignty’ is that the decree of the sovereign makes law.
[American Banana Co. v. United Fruit Co., 29 S.Ct. 511, 513, 213 U.S. 347, 53 L.Ed. 826, 19
Ann.Cas. 1047.}

56. Where rights secured by the Constitution are involved, there can be no rulemaking
or legislation which would abrogate them. [Miranda v. Arizona, 384 US 436, 491.]

57. There can be no sanction or penalty imposed upon one because of this exercise of
constitutional rights. [Sherer v. Cullen, 481 F 946.]
58. | Republican government. One in which the powers of sovereignty are vested in the

people and are exercised by the people, either directly, or through representatives are chosen by
the people, to whom those powers are specially delegated. [In re Duncan, 139 U.S. 449, 11 S.Ct.
573, 35 L.Ed. 219; Minor v. Happersett, 88 U.S. (21 Wall.) 162, 22 L.Ed. 627." Black's Law
Dictionary, Fifth Edition, p. 626.]

59. | The Commonwealth of Pennsylvania is an inseparable part of the United States of
America, and the United States Constitution is the supreme law of the land. Notice and see
Pennsylvania Constitution, all versions.

60. This Constitution, and the Laws of the United States which shall be made in
Pursuance thereof; and all Treaties made, or which shall be made, under the Authority of the
United States, shall be the supreme Law of the Land; and the Judges in every State shall be
bound thereby; any Thing in the Constitution or Laws of any State to the Contrary
notwithstanding. [Constitution for the United States of America, Article VI, Clause 2.]

61. | Conspiracy against rights: If two or more persons conspire to injure, oppress,
threaten, or intimidate any person in any State, Territory, Commonwealth, Possession, or District
in the free exercise or enjoyment of any right or privilege secured to him by the Constitution or
laws of the United States, or because of his having so exercised the same; or If two or more
persons go in disguise on the highway, or on the premises of another, with intent to prevent or
hinder his free exercise or enjoyment of any right or privilege so secured - They shall be fined
under this title or imprisoned not more than ten years, or both; and if death results from the acts
committed in violation of this section or if such acts include kidnapping or an attempt to kidnap,
aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an attempt to kill,
they shall be fined under this title or imprisoned for any term of years or for life, or both, or may
be sentenced to death. [18, USC 241]

62. Deprivation of rights under color of law: Whoever, under color of any law,
statute, ordinance, regulation, or custom, willfully subjects any person in any State, Territory,
Commonwealth, Possession, or District to the deprivation of any rights, privileges, or immunities

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secured or protected by the Constitution or laws of the United States, or to different punishments,
pains, or penalties, on account of such person being an alien, or by reason of his color, or race,
than are prescribed for the punishment of citizens, shall be fined under this title or imprisoned
not more than one year, or both; and if bodily injury results from the acts committed in violation
of this section or if such acts include the use, attempted use, or threatened use of a dangerous
weapon, explosives, or fire, shall be fined under this title or imprisoned not more than ten years,
or both; and if death results from the acts committed in violation of this section or if such acts
_ include kidnapping or an attempt to kidnap, aggravated sexual abuse, or an attempt to commit
aggravated sexual abuse, or an attempt to kill, shall be fined under this title, or imprisoned for
any term of years or for life, or both, or may be sentenced to death. [18, USC 242]

63. | COURT. The person and suit of the sovereign; the place where the sovereign
sojourns with his regal retinue, wherever that may be. °

64. | COURT. An agency of the sovereign created by it directly or indirectly under its
authority, consisting of one or more officers, established and maintained for the purpose of
hearing and determining issues of law and fact regarding legal rights and alleged violations
thereof, and of applying the sanctions of the law, authorized to exercise its powers in the course
of law at times and places previously determined by lawful authority. +

65. COURT OF RECORD. To be a court of record a court must have four
characteristics and may have a fifth. They are:

A. A judicial tribunal having attributes and exercising functions independently of the
person of the magistrate designated generally to hold it [Jones v. Jones, 188 Mo.App. 220, 175
S.W, 227, 229; Ex parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v.
Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689][{Black's Law Dictionary, 4th Ed., 425, 426]

B. Proceeding according to the course of common law [Jones v. Jones, 188 Mo.App. 220,
175 S.W. 227, 229; Ex parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v.
Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689][Black's Law Dictionary, 4th Ed., 425, 426]

C. Its acts and judicial proceedings are enrolled, or recorded, for a perpetual memory and
testimony. [3 Bl. Comm. 24; 3 Steph. Comm. 383; The Thomas Fletcher, C.C.Ga., 24 F. 481; Ex
parte Thistleton, 52 Cal 225; Erwin v. the U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v.
Davis, 96 Ohio St. 205, 117 N-E. 229, 231]

D. Has power to fine or imprison for contempt. [3 BI]. Comm. 24; 3 Steph. Comm. 383;
The Thomas Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. the U.S.,
D.C.Ga., 37 F. 488, 2 L.R.A. 229: Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229,
231.][Black's Law Dictionary, 4th Ed., 425, 426]

E. Generally possesses a seal. [3 Bl. Comm. 24; 3 Steph. Comm. 383; The Thomas
Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. the U.S., D.C.Ga., 37 E
488, 2 L.R.A. 229; Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229, 231.][Black's Law
Dictionary, 4th Ed., 425, 426]

 

* Black's Law Dictionary, 5th Edition, page 318.
* Isbill v. Stovall, Tex.Civ.App., 92 S.W.2d 1067, 1070;
Black's Law Dictionary, 4th Edition, page 425.

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66. The following persons are magistrates: ...The judges of the superior courts....
[Calitornia Penal Code, Sec. 808.] ...our justices, sheriffs, mayors, and other ministers, which
under us have the laws of our land to guide, shall allow the said charters pleaded before them in
judgment in all their points, that is to wit, the Great Charter as the common law.... [Confirmatio
Cartarum, November 5, 1297, Sources of Our Liberties Edited by Richard L. Perry, American
Bar Foundation]

67. | Henceforth the writ which is called Praecipe shall not be served on anyone for any
holding so as to cause a free man to lose his court. [Magna Carta, Article 34].

68. If any claim, statement, fact, or portion in this action is held inapplicable or not
valid, such a decision does not affect the validity of any other portion of this action.

69. The singular includes the plural and the plural the singular. The word people is
both singular and plural.

70. The present tense includes the past and future tenses; and the future, the present.

71. The masculine gender includes the feminine and neuter.

72. We the People of the United States, in Order to form a more perfect Union,
establish Justice, insure domestic Tranquility, provide for the common defense, promote the
general Welfare, and secure the Blessings of Liberty to ourselves and our Posterity, do ordain and
establish this Constitution for the United States of America.

73. Through the courts, Plaintiff Kennedy encourages the government to obey the law.

75. | Edward Thomas Kennedy, Plaintiff, is one of the people and in the court of record,
wishes and demands individual defendants, and/or their counsel, to reply and testify, affirm,
and/or declare under penalty of perjury to his complaint.

76. The Eleventh Amendment does not protect state officials from claims for
prospective relief when it is alleged that state officials acted in violation of federal law. Warnock
v. Pecos County, 88 F.3d 341 (Sth Cir. 07/08/1996), Ex parte Young, 209 U.S. 123, 155-56, 52 L.
Ed. 714, 28 S. Ct. 441 (1908); Edelman v. Jordan, 415 U.S. 651, 664, 39 L. Ed. 2d 662, 94 S. Ct.
1347 (1974); Brennan v. Stewart, 834 F.2d 1248, 1252 (5th Cir. 1988).

77. No money shall be drawn from the treasury, but in consequence of appropriations
made by law; and a regular statement and account of receipts and expenditures of all public
money shall be published from time to time." °

78. The Constitution of the United States of America, Article II Section 2.

"The judicial power shall extend to all cases, in law and equity,° arising under this Constitution,
the laws of the United States, and treaties made, or which shall be made, under their
authority;--to all cases affecting ambassadors, other public ministers and consuls;--to all cases of
| admiralty and maritime jurisdiction;--to controversies to which the United States shall be a
party;--to controversies between two or more statists; between a state and citizens of another

 

> Article I, Section 9, Clause 7, U.S. Constitution, link here
https://constitution.solari.com/the-appropriations-clause-a-history-of-the-constitutions-as-of-yet-underused-clause/
* Law here means common law.

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ate;--between citizens of different states;--between citizens of the same state claiming lands
under grants of different states, and between a state, or the citizens thereof, and foreign states,
citizens or subjects. In all cases affecting ambassadors, other public ministers and consuls, and
those in which a state shall be a party, the Supreme Court shall have original jurisdiction. In all
the other cases before mentioned, the Supreme Court shall have appellate jurisdiction, both as to
law and fact, with such exceptions, and under such regulations as the Congress shall make. The
trial of all crimes, except in cases of impeachment, shall be by jury; and such trial shall be held in
the state where the said crimes shall have been committed; but when not committed within any
state, the trial shall be at such place or places as the Congress may by law have directed."

79. Charter for the Province of Pennsylvania-1681.’

80. Penn's Charter of Liberty - April 25, 1682.°

81. Charter of Privileges Granted by William Penn, Esq.
to the Inhabitants of Pennsylvania and Territories, October 28, 1701.?

-82. Constitution of Pennsylvania - September 28, 1776."°

83. | Small points of the law are not law.

84. Trespass means injury committed with force, actual or implied; immediate and not
consequential; if the property involved, the property ty was in actual or constructive possession
of the plaintiff at the time of injury. Source: Koffler: Common Law Pleading, 152 (1969)

85. Trespass on the Case — In practice, means the form of action by which a person
seeks to recover damages caused by an injury unaccompanied with force or which results
indirectly from the act of the defendant. It is more generally called, simply, case. Source: 2
Bouvier’s Law Dictionary 610 (1867).

86. _"...at the Revolution, the sovereignty devolved on the people; and they are truly
the sovereigns of the country, but they are sovereigns without subjects...with none to govern but
themselves; the citizens of America are equal as fellow citizens, and as joint tenants in the
sovereignty." CHISHOLM v. GEORGIA (US) 2 Dall 419, 454, 1 L Ed 440, 455 @DALL 1793
pp 471-472.

87. The people of this State, as the successors of its former sovereign, are entitled to
all the rights which formerly belonged to the King by his prerogative. Through the medium of
their Legislature they may exercise all the powers which previous to the Revolution could have
been exercised either by the King alone, or by him in conjunction with his Parliament; subject
only to those restrictions which have been imposed by the Constitution of this State or of the
U.S.Lansing v. Smith, 21 D. 89., 4 Wendel 9 (1829) (New York)

"D." = Decennial Digest, Lansing v. Smith, 4 Wend. 9 (N.Y.) (1829), 21 Am. Dec. 89
10C Const. Law Sec. 298; 18 C Em.Dom. Sec. 3, 228; 37 C Nav. Wat. Sec. 219; Nuls Sec. 1°67;
48 C Wharves Sec. 3, 7. NOTE: Am.Dec.=American The decision, Wend. = Wendell (N.Y.)

88. Law of Armed Conflict, Senator Lindsey Graham Questions Brett Kavanaugh

Military Law vs Criminal Law, link here:

 

7 http://avalon.law.yale.edu/17th_century/pa01.asp
* http://avalon.law.yale.edu/17th_century/pa03.asp
* http://avalon.law.yale.edu/18th_century/pa07.asp
*° http://avalon.law.yale.edu/18th_century/pa08.asp

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https://www.youtube.com/watch?v=3_gmOsnjrZw&index=25&list=>WL&t=0s.

The case cited by Graham and Kavanaugh is here: YASER ESAM HAMDI v. DONALD H.
RUMSFELD, SECRETARY OF DEFENSE, et al., link here:

HAMDI V. RUMSFELD (03-6696) 542 U.S. 507 (2004)
https://www.law.comell.edu/supct/html/03-6696.ZO. html.

89. California Government Code Sections 11120 and 54950 contain strong statements
about the sovereignty of the people.

90. | CALIFORNIA CODES GOVERNMENT CODE SECTION 54950-54963 54950.
In enacting this chapter, the Legislature finds and declares that the public commissions, boards
and councils and the other public agencies in this State exist to aid in the conduct of the people's
business. It is the intent of the law that their actions be taken openly and that their deliberations
be conducted openly. The people of this State do not yield their sovereignty to the agencies
which serve them. The people, in delegating authority, do not give their public servants the right
to decide what is good for the people to know and what is not good for them to know. The people
insist on remaining informed so that they may retain control over the instruments they have
created.

91. | CALIFORNIA CODES GOVERNMENT CODE SECTION Section 11120: It is
the public policy of this state that public agencies exist to aid in the conduct of the people's
business and the proceedings of public agencies be conducted openly so that the public may
remain informed. In enacting this article the Legislature finds and declares that it is the intent of
the law that actions of state agencies be taken openly and that their deliberation be conducted
openly. The people of this state do not yield their sovereignty to the agencies which serve them.
The people, in delegating authority, do not give their public servants the right to decide what is
good for the people to know and what is not good for them to know. The people insist on
remaining informed so that they may retain control over the instruments they have created. This
article shall be known and may be cited as the Bagley-Keene Open Meeting Act.

92. | SCOTUS recognizes personal sovereignty, June 16, 2011.
https://www.supremecourt.gov/opinions/1 3pdf/12-158_6579.pdf.

93. CONSTITUTIONAL PREAMBLES

Constitution for the United States of America: We the People of the United States, in
Order to form a more perfect Union, establish Justice, insure domestic Tranquility, provide for
the common defense, promote the general Welfare, and secure the Blessings of Liberty to
ourselves and our Posterity, do ordain and establish this Constitution for the United States of
America.

1849 California Constitution: WE the people of California, grateful to Almighty God for
our freedom: in order to secure its blessings, do establish this Constitution.

1879 State of California Constitution: We, the People of the State of California, grateful
to Almighty God for our freedom, in order to secure and perpetuate its blessings, do establish
this Constitution.

In all three constitutions (and the constitution of any real republic) the operative word is
"establish." People existed in their own individual sovereignty before the constitution was
enabled. When the People "establish" a constitution, there is nothing in the word "establish" that
signifies that they have yielded any of their sovereignty to the agency they have created. To
interpret otherwise would convert the republic into a democracy. Also, see the legislated notice
from the People to the government written in the California Government Codes 11120 and 54950

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quoted herein.

94. To deprive the People of their sovereignty it is first necessary to get the People to
agree to submit to the authority of the entity they have created. That is done by getting them to
claim they are citizens of that entity (see Constitution for the U.S.A., XIV Amendment, for the
definition of a citizen of the United States.)

95. 14C.J.S. 426, 430 The particular meaning of the word "citizen" is + frequently
dependent on the context in which it is found "', and the word must always be taken in the sense _
which best harmonizes with the subject matter in which it is used.'? One may be considered a

citizen for some purposes and not a citizen for other purposes, as, for instance, for commercial
purposes, and not for political purposes.“ So, a person may be a citizen in the sense that as such
he is entitled to the protection of his life, liberty, and property, even though he is not vested with
the suffrage or other political rights.“

96. SOVEREIGNTY Black's Law Dictionary, Fourth Edition
The power to do everything in a state without accountability,--to make laws, to execute and to
apply them, to impose and collect taxes and levy contributions, to make war or peace, to form
treaties of alliance or of commerce with foreign nations, and the like. Story, Const. Sec 207
Sovereignty in government is that public authority which directs or orders what is to be done by
each member associated in relation to the end of the association. It is the supreme power by
which any citizen is governed and is the person or body of persons in the state to whom there is
politically no superior. The necessary existence of the state and that nght and power which
necessarily follow is "sovereignty." By "sovereignty in its largest sense is meant supreme,
absolute, uncontrollable power, the absolute right to govern. The word which by itself comes
nearest to being the definition of "sovereignty" is will or volition as applied to political affairs.!°

STATE Black's Law Dictionary, Fourth Edition
A People permanently occupying a fixed territory bound together by common-law habits and
custom into one body politic exercising, through the medium of an organized government,
independent sovereignty and control over all persons and things within its boundaries, capable of
making | war and peace and of entering into international relations with other communities of the
globe. '

 

97. In concluding his list of grievances against the Parliament and crown, Jefferson
used a reference to natural rights that was to be the core of the Declaration of Independence he
drafted two years later: .. . That these are our grievances which we have thus laid before his
majesty, with that freedom of language and sentiment which becomes a free people claiming
their rights, as derived from the laws of nature, and not as the gift of their chief magistrate.!’

 

" Cal.--Prowd v. Gore, 2 Dist. 207 P. 490. 57 C.A. 458.

12 Cal.--Prowd v. Gore. 2 Dist. 207 P. 490. 57 C.A. 458. La.--Lepenser v Griffin, 83 So. 839, 146 La. 584
N.Y.--Union Hotel Co. v. Hersee, 79 N.Y. 454.

'3 U.S.--The Freundschaft, N.C., 16 U.S. 14, 3 Wheat. 14, 4 L.Ed. 322

--Murray v. The Charming Betsy, 6 U.S. 64, 2 Cranch 64, 2 L.Ed. 208 Md.--Risewick v. Davis, 19 Md. 82
Mass.--Judd v. Lawrence, 1 Cush 531.

"* Mass.--Dillaway v. Burton, 153 N.E. 13, 256 Mass. 568.

'8 City of Bisbee v. Cochise County, 52 Ariz. 1, 78 P.2d 982, 986.

1® United States v. Kusche, D.C.Cal., 56 F.Supp. 201, 207, 208. The organization of social life which exercises
sovereign power in behalf of the people. Delany v. Moraitis, C.C.A.Md., 136 F.2d 129, 130.

"” https://www.loc.gov/teachers/classroommaterials/connections/thomas-jefferson/history3.html

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98. “In Chisholm, the Justices of the Supreme Court rejected Georgia's claim to be
sovereign. They concluded instead that, to the extent, the term “sovereignty” is even
appropriately applied to the newly-adopted Constitution, it rests with the people, rather than with
state governments.”’®

99. A person may be a citizen for commercial purposes and not for political
purposes.” ?°

100. Lieber Code

The Lieber Code of April 24, 1863, also known as Instructions for the Government of
Armies of the United States in the Field, General Order Ne 100,[1][2] or Lieber Instructions, was
an instruction signed by US President Abraham Lincoln to the Union Forces of the United States
during the American Civil War that dictated how soldiers should conduct themselves in wartime.

101. 18 U.S. Code § 2384 - Seditious conspiracy

If two or more persons in any State or Territory, or in any place subject to the jurisdiction
of the United States, conspire to overthrow, put down, or to destroy by force the Government of
the United States, or to levy war against them, or to oppose by force the authority thereof, or by
force to prevent, hinder, or delay the execution of any law of the United States, or by force to
seize, take, or possess any property of the United States contrary to the authority thereof, they
shall each be fined under this title or imprisoned not more than twenty years, or both.

(June 25, 1948, ch. 645, 62 Stat. 808; July 24, 1956, ch. 678, § 1, 70 Stat. 623; Pub. L. 103-322,
title XX XIII, §330016(1)(N), Sept. 13, 1994, 108 Stat. 2148.)
102. 18U.S. Code § 2381 - Treason
Whoever, owing allegiance to the United States, levies war against them or adheres to
their enemies, giving them aid and comfort within the United States or elsewhere, is guilty of
treason and shall suffer death, or shall be imprisoned not less than five years and fined under this
title but not less than $10,000; and shall be incapable of holding any office under the United
States.

(June 25, 1948, ch. 645, 62 Stat. 807; Pub. L. 103-322, title XXXII, §330016(2)(J), Sept. 13,
1994, 108 Stat. 2148.)

103. RESERVATION OF SOVEREIGNTY: "Even if the Tribe's power to tax were
derived solely from its power to exclude non-Indians from the reservation, the Tribe has the
authority to impose the severance tax. Non-Indians who lawfully enter tribal lands remain subject
to a tribe's power to exclude them, which power includes the lesser power to tax or place other
conditions on the non-Indian's conduct or continued presence on the reservation. The Tribe's role
as a commercial partner with petitioners should not be confused with its role as sovereign. It is
one thing to find that the Tribe has agreed to sell the right to use the land and take valuable
minerals from it, and quite another to find that the Tribe has abandoned its sovereign powers
simply because it has not expressly reserved them through a contract. To presume that a
sovereign forever waives the right to exercise one of its powers unless it expressly reserves the
right to exercise that power in a commercial agreement turns the concept of sovereignty on its

 

'® In re Chisholm v. Georgia, 2 U.S. (Dall.) 419 (1793). Barnett, Randy E., The People or The State?: Chisholm V.
Georgia and Popular Sovereignty. Virginia Law Review, Vol. 93; Georgetown Public Law Research Paper No.
969557. Available at SSRN: http://ssrn.com/abstract=969557.

19 Field v. Adreon, 7 Md. 209.

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head. Merrion v. Jicarilla Apache Tribe; Amoco Production Company v. Jicarilla Apache Indian
Tribe, 455 U.S. 130, 131, 102 S.Ct. 894, 71 L.Ed.2d 21 (1981).

104. Effective January 1, 2019, 2018 Amendments to the Manual for Courts-Martial,
United States, issued on March 1, 2018, Sec. 5. The amendments in Annex 2, including
Appendix 12A, shall take effect on January 1, 2019, subject to the following:

(a) Nothing in Annex 2 shall be construed to make punishable any act done or omitted prior to
January 1, 2019, that was not punishable when done or omitted.

105. Donald J. Trump Presidential Executive Orders must be followed by all
government employees and BAR Association member Attorneys worldwide, and are as follows:

106 PA Consolidated Statutes, Title 42 § 321. Court of record.
Except as otherwise provided in this subpart every court of this Commonwealth shall be a court
of record with all the qualities and incidents of a court of record at common law. See also Exhibit
1, Law of the Case for a true definition of court of record.”

107. PREAMBLE
WE, the people of the Commonwealth of Pennsylvania, grateful to Almighty God for the

blessings of civil and religious liberty, and humbly invoking His guidance, do ordain and
establish this Constitution.”

 

20

https://www.whitehouse.gov/presidential-actions/2018-amendments-manual-courts-mantial-united-states/
a) Nothing in Annex 2 shall be construed to make punishable any act done or omitted prior to January 1,
2019, that was not punishable when done or omitted.

(b) Nothing in section 4 of Annex 2 shall be construed to invalidate the prosecution of any offense
committed before January 1, 2019. The maximum punishment for an offense committed before January
1, 2019, shall not exceed the maximum punishment in effect at the time of the commission of such
offense.

(c) Nothing in Annex 2 shall be construed to invalidate any nonjudicial punishment proceeding, restraint,
investigation, referral of charges, trial in which arraignment occurred, or other action begun prior to
January 1, 2019. Except as otherwise provided in this order, the amendments in Annex 2 shall not apply
in any case in which charges are referred to trial by court-martial before January 1, 2019. Except as
otherwise provided in this order, proceedings in any such case shall be held in the same manner and with
the same effect as if such amendments had not been prescribed.

74 court of record a. issue ro be decided and b. The decision that was made.

22 WE the people created the government, and we the people do not yield our sovereignty to those
agencies that serve us.

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108. In re Dismissal for Failure to State a Claim
FAILURE TO STATE A CLAIM UPON WHICH RELIEF MAY BE GRANTED

"The general rule in appraising the sufficiency of a complaint about failure to state a
claim is that a complaint should not be dismissed '***unless it appears beyond doubt that the
plaintiff can prove no set of facts in support of his claim which would entitle him to relief.’
CONLEY VS. GIBSON (1957), 355 U.S. 41, 45, 46, 78 S.Ct. 99, 102, 2 LEd 2d 80; SEYMOUR
VS. UNION NEWS COMPANY, 7 Cir., 1954, 217 F.2d 168; and see rule 54c, demand for
judgment, FEDERAL RULES OF CIVIL PROCEDURE, 28 USCA: "***every final judgment
shall grant the relief to which the party in whose favor it is rendered is entitled, even if the party
has not demanded such relief in his pleadings."

U.S. V. WHITE COUNTY BRIDGE COMMISSION (1960), 2 Fr Serv 2d 107, 275 F2d 529,
535

"A complaint may not be dismissed on motion if it states some sort of claim, baseless
though it may eventually prove to be, and inartistically as the complaint may be drawn.
Therefore, under our rules, the plaintiff's allegations that he is suing in ‘criminal libel’ should not
be liberally construed. [3] The complaint is hard to understand but this, with nothing more,
should not bring about a dismissal of the complaint, particularly is this trae where a defendant is
not represented by counsel, and in view of rule 8{f} of the rules of civil procedure, 28 U.S.C.,
which requires that all pleadings shall be construed as to do substantial justice BURT VS. CITY
OF NEW YORK, 2Cir., (1946) 156 F.2d 791. Accordingly, the complaint will not be dismissed
for insufficiency. [4,5] Since the Federal Courts are courts of limited jurisdiction, a plaintiff must
always show in his complaint the grounds upon which that jurisdiction depends."

STEIN VS. BROTHERHOOD OF _ PAINTERS, DECORATORS, AND
PAPERHANGERS OF AMERICA, DCCDJ (1950), 11 F.R.D. 153.

"A complaint will not be dismissed for failure to state a claim, even though inartistically
drawn and lacking in allegations of essential facts, it cannot be said that under no circumstances
will the party be able to recover."

JOHN EDWARD CROCKARD VS. PUBLISHERS, SATURDAY EVENING POST
MAGAZINE OF PHILADELPHIA, PA (1956) Fr Serv 29, 19 F.R.D. 511, DCED Pa 19 (1958).”

 

5 See also "FRCP 8f: CONSTRUCTION OF pleadings.
All pleadings shall be so construed as to do substantial justice."
DIOGUARDI VS. DURNING, 2 CIR., (1944) 139 F2d 774

Pade 15 of 15
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L (a) PLAINTIFFS

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herein neither replace nor supplement the filing and service Of pleadings or other papefs as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS F ORM.)

Edward Feune Kewas ad

(b) County of Residence of First Listed Plaintiff Ce L nt
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Gah |

DEFENDANTS

De Virb S Arlee

County of Residence of First Listed Defendant

 

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
Attorneys (/f Known)

 

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Ill. CITIZENSHIP OF PRINCIPAL

(For Diversity Cases Only)

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and One Box for Defendant)

 

   

   

 

   

  

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Defendant (Indicate Citizenship of Parties in Item ITI) of Business In Another State
Citizen or Subject of a 0 3 O 3. Foreign Nation O6 76
Foreign Country
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0 120 Marine 0 310 Airplane
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1 140 Negotiable Instrument Liability
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PERSONAL INJURY
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CIVIL RIGHTS PRISONER PETITIONS

Habeas Corpus:

463 Alien Detainee

510 Motions to Vacate
Sentence

530 General

535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

355 Prison Condition

560 Civil Detainee -
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(J 422 Appeal 28 USC 158
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of Property 21 USC 881

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New Drug Application
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720 Labor/Management OC 863 DIWC/DIWW (405(g))
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0 740 Railway Labor Act

(1 751 Family and Medical
Leave Act

& 790 Other Labor Litigation

C1 791 Employee Retirement
Income Security Act

865 RSI (405(g))

O 870 Taxes (U.S. Plaintiff
or Defendant)

0 871 IRS—Third Party
26 USC 7609

C1 462 Naturalization Application
CO 465 Other Immigration
Actions

 

 

   

FEDERAL TAX SUITS

  

0 375 False Claims Act
1 376 Qui Tam (31 USC
3729(a))
G 400 State Reapportionment
& 410 Antitrust
& 430 Banks and Banking
450 Commerce
0 460 Deportation
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Corrupt Organizations
( 480 Consumer Credit
0 490 Cable/Sat TV
850 Securities/Commodities/
Exchange
0 890 Other Statutory Actions
©) 891 Agricultural Acts
O 893 Environmental Matters
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Act
896 Arbitration
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VI. CAUSE OF ACTION } OS L2G / f C<

 

 

 

 

 

 

 

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RECEIPT # AMOUNT JUDGE

APPLYING IFP

MAG. JUDGE
 

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Chey. Rev. Edward T. Kennedy
Sacred Medical Order Knights
Sacred Medical Order Church
401 Tillage Rd.
Breinigsville, PA 18031
415-275-1244
FAX: 570-275-1244
E-MAIL: pillar.of.peace.2012 @ gmail.com

 

 

 

 

Clerk of Court I UB us OE VE BD _—
United States District Court
501 West 10th Street, Room 310 iL FEB | | 2019
Fort Worth, TX 76102-3673 2
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DearClerkofCout,

1. Please File on demand in the Fort Worth division. Please do not transfer to Dallas
or any other court or division for that is not my wish or intention. .

2. I included an Affidavit to waive all fees. I am a priest who took an oath of poverty.

I am poor but the oath time out. All is well.

3. Please call me if you have questions.
February 7, 2019

Respectfully submitted,

PET Fs

Edward Thomas Kennefs y

 

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